    Case 4:17-cr-00095-WTM-CLR Document 45 Filed 08/17/17 Page 1 of 1

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                 IN THE UNITED   STATES DISTRICT   COURT              SA..-

                                                                onn Aii" n An 11-
                 FOR THE SOUTHERN DISTRICT OF GEORGIA



                          SAVANNAH DIVISION




THE UNITED STATES OF AMERICA,


              Plaintiff,

                 V.                         4:17CR95



EUGENE HARRISON,


              Defendant




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised     in the parties'   motions have     been resolved           by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this          day of August, 2017.




                                 UNITED STATES   MAGISTRATE   JUDGE

                                 SOUTHERN DISTRICT OF GEORGIA
